Case 08-13141-BLS Doc 6295-1 Filed 11/09/10 Pageiof8

Attachment A

Tribune Company And Its Subsidiary Debtors’
Response To Competing Plans Of Reorganization
Case 08-13141-BLS Doc 6295-1 Filed 11/09/10 Page 2of8

TRIBUNE COMPANY AND ITS SUBSIDIARY DEBTORS’
RESPONSE TO COMPETING PLANS OF REORGANIZATION

TO ALL HOLDERS OF CLAIMS ENTITLED TO VOTE:

You are being asked to consider the Settlement Plan proposed by the Debtors, the
Official Committee of Unsecured Creditors, JPMorgan, Oaktree and Angelo Gordon, and three
(3) competing plans of reorganization for Tribune Company and its Debtor Subsidiaries. You
have received a separate, color-coded Ballot for each of these plans of reorganization. The plans
of reorganization and their corresponding Ballot color are as follows:

e Settlement Plan proposed by the Debtors, the Official Committee of
Unsecured Creditors, JPMorgan, Oaktree and Angelo Gordon,
accompanied by a BLUE Ballot

e Litigation Plan proposed by Aurelius, Deutsche Bank, Law Debenture
and Wilmington Trust Company, accompanied by a PURPLE Ballot

e Bridge Plan proposed by certain Holders of Bridge Loan Claims,
accompanied by a GREEN Ballot

e Step One Plan proposed by certain Holders of Step One Senior Loan
Claims, accompanied by a YELLOW Ballot

TRIBUNE COMPANY AND ITS SUBSIDIARY DEBTORS URGE YOU TO SUBMIT
YOUR BLUE BALLOT IN FAVOR OF THE SETTLEMENT PLAN
AND INDICATE YOUR PREFERENCE FOR THE SETTLEMENT PLAN
ABOVE ALL OTHER PLANS THAT YOU MAY BE CONSIDERING.

A. What is the Settlement Plan?

The formal title of the Settlement Plan is the “Joint Plan of Reorganization for
Tribune Company and Its Subsidiaries Proposed by the Debtors, the Official Committee of
Unsecured Creditors, Oaktree Capital Management, L.P., Angelo Gordon & Co., L.P. and
JPMorgan Chase Bank, N.A.” The Settlement Plan has been proposed by several of the most
significant constituents in these Chapter 11 Cases—the Debtors, the Official Committee of
Unsecured Creditors, JPMorgan, in its capacity as Senior Loan Agent and as a Senior Lender,
and Oaktree and Angelo Gordon (who are, along with JPMorgan, the largest Holders of Senior
Loan Claims). The agreement that is embodied in the Settlement Plan is the result of the
Mediation that was overseen by U.S. Bankruptcy Court Judge Kevin Gross, who has endorsed
the settlement.

In summary, the Settlement Plan has two primary components. First, the
Settlement Plan provides for certain settlements of LBO-Related Causes of Action held by the
Debtors’ Estates against current and former Senior Lenders (with the exception of liability for
certain disgorgement claims if such parties are not participants in the Step Two/Disgorgement
Settlement), the Senior Loan Agent and the Senior Loan Arrangers, participating current and

CHI 5530359v.9
Case 08-13141-BLS Doc 6295-1 Filed 11/09/10 Page 3o0f8

former Bridge Lenders and Bridge Loan Arrangers, and the Step One Selling Stockholders.
Significant portions of the distributions to be made to Holders of Senior Noteholder Claims,
Other Parent Claims (which include claims of the Retiree Claimants and other General
Unsecured Claims against Tribune), Convenience Claims and General Unsecured Claims against
the Filed Subsidiary Debtors are on account of and in consideration of these settlements. As a
result of these settlements, on the Effective Date of the Settlement Plan, (i) the Holders of
Allowed Senior Noteholder Claims will receive their Pro Rata share of $420 million in Cash
(equal to 32.73% of their Allowed Claims) plus trust interests described below, (ii) the Holders
of Allowed Other Parent Claims can choose to receive (a) Cash in an amount equal to 35.18% of
their Allowed Claim or (b) Cash in an amount equal to 32.73% of their Allowed Claims plus
trust interests described below, and (iii) the Holders of Allowed General Unsecured Claims
against the Filed Subsidiary Debtors will receive Cash in an amount equal to 100% of their
Allowed Claim unless such Claims exceed $150 million, in which case Holders will receive their
Pro Rata share of $150 million.

A second component of the Settlement Plan is the preservation of the Estate’s
remaining LBO-Related Causes of Action for the benefit of Tribune’s creditors and the
assignment of those causes of action to the Litigation Trust and the Creditors’ Trust (collectively,
the Trusts”). As part of the settlements embodied in the Settlement Plan, the Senior Lenders
have agreed to relinquish a portion of their entitlement to the proceeds of the Trusts for the
benefit of Holders of Non-LBO Lender Claims against Tribune. As a result, the beneficial
interests granted to Holders of Allowed Senior Noteholder Claims, PHONES Notes Claims,
EGI-TRB LLC Notes Claims and electing Holders of Other Parent Claims will provide such
Holders with their Pro Rata share (subject to the contractual subordination of the PHONES and
EGI-TRB Notes) of (i) the first $90 million realized from the Trusts, and, thereafter and after
repayment of the Trusts’ Loan, (ii) sixty-five percent (65%) of the proceeds realized from the
Trusts until payment in full of all of the foregoing claims. The remaining thirty-five percent
(35%) of the Trusts’ recoveries will be provided to Holders of Allowed Senior Loan Claims and
Bridge Loan Claims.

FOR ADDITIONAL INFORMATION CONCERNING THE SETTLEMENT PLAN, HOLDERS OF
CLAIMS SHOULD REVIEW THE SETTLEMENT PLAN AND THE SPECIFIC DISCLOSURE
STATEMENT RELATING TO JOINT PLAN OF REORGANIZATION FOR TRIBUNE COMPANY
AND ITS SUBSIDIARIES PROPOSED BY THE DEBTORS, THE OFFICIAL COMMITTEE OF
UNSECURED CREDITORS, OAKTREE CAPITAL MANAGEMENT, L.P., ANGELO GORDON &
CO., L.P. AND JEMORGAN CHASE BANK, N.A.

B. Who are the proponents of the various plans of reorganization?

Settlement Plan. Three diverse groups of constituents are proponents of the
Settlement Plan, and the Settlement Plan is the only proposed plan of reorganization that has
the support of parties with fiduciary duties to all creditors in these Chapter 11 Cases. The
Debtors, which include Tribune and 110 of Tribune’s subsidiaries, are fiduciaries for all
stakeholders in these Chapter 11 Cases. The Debtors are proponents of the Settlement Plan
because the Debtors believe the Settlement Plan is in the best interests of their stakeholders. The
Official Committee of Unsecured Creditors, which is an official statutory committee appointed
by the Office of the United States Trustee, is also a proponent of the Settlement Plan. Like the
Case 08-13141-BLS Doc 6295-1 Filed 11/09/10 Page 4of8

Debtors, the Creditors’ Committee is a fiduciary for all general unsecured creditors of the
Debtors and has approved the Settlement Plan because the Creditors’ Committee believes it is in
the best interests of the stakeholders they represent. The final group of constituents that
proposed the Settlement Plan is comprised of three of the largest Holders of Senior Loan
Claims-—JP Morgan, which is also the Senior Loan Agent, Oaktree and Angelo Gordon. These
three Holders will initially be the largest individual holders of Tribune’s New Common Stock
under any of the proposed plans of reorganization.

Litigation Plan. The principal proponent of the Litigation Plan is Aurelius,
which is a hedge fund purportedly holding Senior Notes Claims and PHONES Notes Claims.
The other proponents of the Litigation Plan are Indenture Trustees for the Senior Notes and
PHONES Notes. It is the Debtors’ understanding that Aurelius recently purchased the majority
of its Senior Notes Claims from another hedge fund that was a proponent of the original
settlement plan filed by the Debtors. None of the proponents of the Litigation Plan are creditors
of any of the 110 operating subsidiary Debtors. Moreover, due to the size of the Claims held by
the proponents of the Litigation Plan in relation to the total debt outstanding against the Debtors
and the distributable value available to such debtholders, under virtually every plausible scenario
contemplated by the proposed plans of reorganization (including the Litigation Plan), the
proponents of the Litigation Plan will only be eligible to receive, at most, a minority portion of
the New Common Stock in Reorganized Tribune. As a result, their economic interests in the
Reorganized Debtors are disproportionate to the degree of control the Litigation Plan proponents
seek to exert over the fate of the Reorganized Debtors.

Bridge Plan. The Bridge Plan has been proposed by three hedge funds that are
Holders of Bridge Loan Claims who purchased such Claims from the original Bridge Lenders.

Step One Plan. The Step One Plan has been proposed by a group of hedge funds
that solely hold Step One Senior Loan Claims. Based upon the Debtors’ information and belief,
this group of hedge funds did not become actively involved in the Debtors’ Chapter 11 Cases
until the late summer of 2010. According to the proponents’ disclosures before the Bankruptcy
Court, the proponents of the Step One Plan hold less than 9.5% of the aggregate Senior Loan
Claims.

C. What distinguishes the Settlement Plan from the other plans of
reorganization?

The cornerstone of the Settlement Plan is the settlement, as of the Effective Date
of the Settlement Plan, of the Estate’s LBO-Related Causes of Action against the Holders of
Senior Loan Claims and Settling Step Two Payees in exchange for $521 million, while
preserving for the benefit of Tribune’s creditors LBO-Related Causes of Action against the Step
Two Selling Stockholders, advisors, certain directors, certain officers, Morgan Stanley, EGI-
TRB LLC, Samuel Zell and Non-Settling Step Two Payees. As a result of the settlements in the
Settlement Plan, most Holders of Claims against the Debtors will receive substantial cash
distributions upon the Debtors’ emergence from their Chapter 11 Cases, in contrast to the
minimal initial distributions of the competing plans. In addition, the immediate distributions to
Non-LBO Lender creditors of the Debtors will be in the form of cash rather than common stock
or a new loan. Finally, based upon the settlements in the Settlement Plan, the Non-LBO Lender
Case 08-13141-BLS Doc 6295-1 Filed 11/09/10 Page 5of8

creditors of Tribune will receive the first $90 million of any Trust recoveries and, after
repayment of the Trusts’ loan, will receive a disproportionately larger share of any future Trust
recoveries than their base entitlement.

In contrast, the Litigation Plan is premised upon no settlements and the
preservation of all potential LBO-Related Causes of Action and the transfer of these causes of
action to two litigation trusts. Under the Litigation Plan, upon the Debtors’ emergence from
their Chapter 11 Cases, each Class of creditors of the Debtors will receive only its minimum
entitlement in the form of cash, new common stock and a new loan based upon the assumption
that all preserved litigation claims are decided in a manner that is least favorable to such Class.
Further distributions to each Class of Claims will only occur, if at all, after years of costly
litigation concerning the LBO-Related Causes of Action and the completion of any appeals and
after the entry of various final court orders resolving the relative entitlement of various Classes
of Claims to the proceeds of the litigation. Since the Litigation Plan does not resolve any of the
critical issues in these Chapter 11 Cases, not only the amount, but also the timing, of any
consideration that Holders of Claims may ultimately receive under the Litigation Plan are not
only speculative, but also unascertainable at present.

Like the Litigation Plan, the Bridge Plan provides minimal up-front distributions
of cash, new common stock and a new loan, with any meaningful distributions to Holders of
Non-LBO Lender Claims occurring, if at all, after years of costly litigation and appeals
concerning the LBO-Related Causes of Action and after the entry of various final court orders
resolving the relative entitlement of various Classes of Claims to the proceeds of the litigation.
Although the Bridge Plan does contemplate various opt-in settlements that would purport to
provide substantial up-front cash distributions to creditors, none of the parties that would fund
these proposed settlements have agreed to the Bridge Plan, and the Debtors believe they are
unlikely to do so. If the Holders of Senior Loan Claims do not accept the Bridge Plan, the
Bridge Plan would provide for minimal distributions similar to the Litigation Plan, with a
significant portion of the Reorganized Debtors’ enterprise value held in reserve pending the
outcome of protracted litigation. Accordingly, the Debtors view both the amount and timing of
distributions under the Bridge Plan as highly speculative, at best.

Finally, the Step One Plan is a single-issue plan that is focused on providing
certain Step One hedge funds and similar creditors with more favorable treatment than what they
are afforded under the Settlement Plan, at the expense of virtually every other creditor
constituency. In addition, the Step One Plan contemplates additional litigation involving the
application of the “sharing provisions” in the Senior Loan Agreement. While the Step One Plan
incorporates a settlement of LBO-Related Causes of Action against the Step One Senior Lenders,
the Step One Plan proponents do not control the Class of Step One Senior Lenders and, without
Class acceptance, the Step One proponents cannot impose an involuntary settlement upon the
Holders of Step One Senior Loan Claims. Furthermore, the Step One Plan substantially reduces
the distributions set forth in the Settlement Plan. For example, the Step One Plan does not
provide for the $120 million Step Two/Disgorgement Settlement in the Settlement Plan, thereby
reducing distributions to Senior Noteholders, and also provides smaller initial distributions to
several classes of creditors, including Holders of Step Two Senior Loan Claims and Other Parent
Claims, as compared to the Settlement Plan. Finally, the Step One Plan reduces the percentage
Case 08-13141-BLS Doc 6295-1 Filed 11/09/10 Page 6of8

of litigation trust recoveries to be paid to holders of Non-LBO Lender Claims from 65% to their
pro rata share, thus redirecting the bulk of these recoveries to Step One Senior Lenders.

D. What will be the initial distributions under the Settlement Plan as
compared to the other plans of reorganization?

The following chart depicts a comparison of the estimated recovery percentages
that Classes of Claims entitled to vote will initially receive upon the Debtors’ emergence from
bankruptcy under the various plans of reorganization:

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Step One Senior
Loan/Guaranty
Claims:

71.03%

34.20%

34.20%

71.32%

Step Two Senior
Loan/Guaranty
Claims:

71.03%

0%

0%

0%"

Bridge
Loan/Guaranty
Claims:

0%

0%

7.70%

0%

Senior
Noteholder
Claims:

32.73%

4.8%

4.8%

23.38%

Other Parent
Claims:

35.18 or 32.73%

4.3%

4.3%

25.83 or 23.38%

Convenience
Claims against
Tribune:

100%

4.3%

4.3%

100%

' Recovery percentages assume that (a) disputes concerning the “sharing provisions” in the Senior Loan Agreement
are not resolved prior to the Effective Date, but that distributions are made to the Holders of Step One Senior Loan
Claims on the Effective Date, and (b) disputes concerning the Allowed amount of the PHONES Notes Claims are
not resolved prior to the Effective Date.

* Although the Bridge Plan provides an option for various settlements that may potentially result in greater
distributions to certain creditors of Tribune as of the Effective Date, the Bridge Plan is not conditioned upon the
implementation of these settlements and the Debtors believe the ability to consummate these settlements is highly

unlikely.

> If the disputes concerning the “sharing provisions” in the Senior Loan Agreement are resolved in a manner that is
favorable to the Step One Senior Lenders prior to the Effective Date, the initial distribution to the Holders of Step
One Senior Loan Claims may potentially be higher than that set forth above.

* If the disputes concerning the “sharing provisions” in the Senior Loan Agreement are resolved in a manner that is
favorable to the Step Two Senior Lenders prior to the Effective Date, the initial distribution to the Holders of Step
Two Senior Loan Claims may potentially be higher than that set forth above.

Case 08-13141-BLS Doc 6295-1 Filed 11/09/10 Page 7of8

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General 100% 8.0% 8.0% 100%
Unsecured
Claims against
Guarantor
Subsidiaries:
General 100% 100% 100% 100%
Unsecured
Claims against
Non-Guarantor

Subsidiaries:
EGI-TRB LLC 0% 0% 0% 0%
Notes Claims:
PHONES Notes 0% 0% 0% 0%
Claims:
E. Will the Trusts provide significant recoveries to Holders of Claims
against the Debtors?

It is impossible for any party to predict with certainty the recoveries, if any, that
Holders of Claims may receive from the various litigation and creditors’ trusts. Consequently, it
is conceivable that certain creditors may only receive the distributions set forth in the chart
above. In order for Holders of Non-LBO Lender Claims to receive as much under the Litigation
Plan or the Bridge Plan as they are receiving under the Settlement Plan, the proposed litigation
and creditors’ trusts will need to recover in excess of $521 million® (even before taking into
account the time value of money) net of litigation expenses, which will likely be significant, or
there would need to be a reallocation of such amount from the Holders of Senior Loan Claims to
the Holders of Non-LBO Lender Claims. Unbridled post-bankruptcy litigation concerning the
LBO-Related Causes of Action will undoubtedly be fact intensive, time consuming and
extraordinarily costly. The recoveries from any such litigation are speculative, at best. Asa
result, the Debtors have concluded that the Settlement Plan, which provides greater up-front
recoveries to Holders of Claims, and less back-end litigation risk, cost, delay and uncertainty, is
in the best interests of their creditors as a whole.

° General Unsecured Claims against the Non-Guarantor Subsidiary Debtors represent less than 5% of the aggregate
General Unsecured Claims against the Subsidiary Debtors.

° Under the Settlement Plan, the aggregate cash distributions to Holders of Senior Noteholder Claims, Other Parent
Claims, Convenience Claims and General Unsecured Claims against the Filed Subsidiary Debtors will be
approximately $598 million. Of the $598 million in total cash recoveries, $77 million is the “natural” or “base case’
recovery, and the remaining $521 million is being provided as settlement consideration by the current Senior
Lenders and the Settling Step Two Payees, including $358 million to Holders of Senior Noteholder Claims, $80
million to Holders of Other Parent Claims, and $83 million to Holders of General Unsecured Claims against the
Filed Subsidiary Debtors.

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Case 08-13141-BLS Doc 6295-1 Filed 11/09/10 Page 8of8

F, Which plan of reorganization provides the best overall result for
Tribune’s creditors?

The Settlement Plan provides for substantial initial distributions to the Debtors’
creditors and a significant reduction in post-emergence litigation through fair and reasonable
settlements that are in the best interests of the Estates and the parties in interest in these Chapter
11 Cases. Under the Settlement Plan, there are no uncertainties as to the identity of the future
owners of Reorganized Tribune, and the market for the New Common Stock will be unclouded
by the possibility of unknown owners or future dilution as New Common Stock is released from
a “Distribution Trust.” The Settlement Plan accounts for the substantial progress that has been
made with the Debtors’ stakeholders during the Debtors’ time in chapter 11, including the
valuable input from the Mediator, Judge Kevin Gross. These efforts are lost under the Litigation
Plan, which does not resolve any of the LBO-Related Causes of Action or any issues related to
the priority of distributions among various creditor constituents. After nearly two years in
bankruptcy, Tribune is poised to emerge from chapter 11 with a deleveraged balance sheet. The
Debtors believe that the Settlement Plan provides the best outcome for their stakeholders and
other parties in interest as a whole.

For the foregoing reasons, the Debtors urge all Holders of Claims to vote in
favor of the Settlement Plan by checking the ACCEPT box on the BLUE Ballot and
indicate your preference for the SETTLEMENT PLAN above all other plans.

Respectfully,

TRIBUNE COMPANY (for itself and on behalf of
the other Debtors, as Debtors and Debtors in
Possession, and the Guarantor Non-Debtors and
Non-Guarantor Non-Debtors)

By:/s/ Donald J. Liebentritt

Name: Donald J. Liebentritt

Title: Co-President, Chief Restructuring Officer,
Tribune

